Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 Page 1 of 9




 EXHIBIT 1
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                         INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 RECEIVED
                                                                      Page 2 of NYSCEF:
                                                                                9       09/18/2023




              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK
              ------------------------------------------------------------------x
             DAVIDOFF BUTCHER & CITRON LLP and
             ROBERTJ.COSTELLO,ESQ.
                                                                                    SUMMONS
                                                 Plaintiffs,
                                                                                    Plaintiff Davidoff Butcher & Citron
                               -against-                                            LLP designates New York
                                                                                    County as the place of trial.
              RUDOLPH W. GIULIANI,
                                                                                    The basis of venue is residence
                                                 Defendant.                         in New York County.
              ------------------------------------------------------------------x
              To the above-named defendant:

                     YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
              copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
              appearance on plaintiffs attorney(s) within 20 days after the service of this summons, exclusive
              of the day of service (or within 30 days after the service is complete if this summons is not
              personally delivered to you within the State of New York), and in case of your failure to appear
              or answer, judgment will be taken against you by default for the relief demanded in the
              complaint.

              Dated: New York, New York
                     September 18, 2023
                                                                              TCHER & CITRON LLP




                                                                    05 Third A venue
                                                                   New York, New York 10158
                                                                   (212) 557-7200
                                                                   Attorneys/or Plaintiffs

              TO:     Rudolph W. Giuliani
                      45 East 66 th Street
                      New York, New York 10065




This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                          1 of       8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 RECEIVED
                                                                      Page 3 of NYSCEF:
                                                                                9       09/18/2023




              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK
              ---------------------------------------------------------------x
             DAVIDOFF HUTCHER & CITRON LLP and
             ROBERT J. COSTELLO, ESQ.,
                                                                                 COMPLAINT
                                                 Plaintiffs,
                                                                                 Index No.
                               - against -

              RUDOLPH W. GIULIANI,

                                                 Defendant.
              ---------------------------------------------------------------x
                       Plaintiffs Davidoff Hutcher & Citron LLP ("DHC") and Robert J. Costello, Esq.

              ("Costello") (collectively, the "Plaintiffs"), as and for their complaint against defendant Rudolph

              W. Giuliani ("Defendant"), alleges as follows:

                                                         Preliminary Statement

                       1.      This action simply seeks payment of an outstanding bill for legal services

              rendered by Plaintiffs in the amount of $1,360,196.10 in addition to scheduling a hearing on the

              reasonable attorneys' fees Plaintiffs are contractually entitled to as the prevailing party in this

              litigation.

                       2.      From on or about November 2019 through on or about July 2023, Plaintiffs

              provided legal services on behalf of the Defendant. The legal services included, but were not

              limited to representing the Defendant while he was being criminally investigated by the U.S.

              Attorney for the Southern District of New York, representing the Defendant during a pending

              criminal investigation in Georgia by the Fulton County District Attorney's Office, representing

              the Defendant during a pending criminal investigation by Special Counsel Jack Smith regarding

              the January 6th attack on the U.S. Capitol, and representing the Defendant during a pending

              investigation by the U.S. House Select Committee to Investigate the January 6th Attack on the


                                                                       2
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                          2 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                 INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 RECEIVED
                                                                      Page 4 of NYSCEF:
                                                                                9       09/18/2023




              United States Capitol. The Defendant also directed Plaintiffs to supervise more than ten civil

              lawsuits filed against the Defendant that were commenced in various state and federal courts as

              well as participating in representing the Defendant in disciplinary proceedings regarding his law

              license in the District of Columbia and the First Department of New York.

                     3.      During the course of Plaintiffs' representation of Defendant, Plaintiffs billed

              Defendant directly for fees and expenses that totaled $1,574,196.10. Defendant has paid only

              $214,000 of the total bill leaving a total of $1,360,196.10 outstanding.

                                                            Parties

                     4.      Plaintiff, Davidoff Hutcher & Citron LLP, is a limited liability partnership duly

              organized and existing under the laws of the State of New York, with its principal place of

              business at 605 Third Avenue, 34 th Floor, New York, New York 10158.

                     5.      Plaintiff, Robert J. Costello, Esq., is an individual who resides in the State of New

              York and is duly licensed to practice law in the State of New York, and all times mentioned in

              the Complaint, is and has been a partner at DHC.

                     6.      Defendant, Rudolph W. Giuliani, is an individual who upon information and

              beliefresides at 45 East 66 th Street, New York, New York 10065.

                                                   Jurisdiction and Venue

                     7.      The Court has jurisdiction over Defendant pursuant to CPLR 301 and/or CPLR

              302(a)(l). Furthermore, jurisdiction in New York was contractually agreed to in the retainer

              agreement.

                     8.      Venue is proper in New York County pursuant to CPLR 503 because plaintiff

              DHC has its main office in the County of New York.




                                                               3
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                          3 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                  INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 RECEIVED
                                                                      Page 5 of NYSCEF:
                                                                                9       09/18/2023




                                                             Facts

                     9.      Defendant retained Plaintiffs on or about November 6, 2019, when Defendant

             executed a retainer agreement (the "Retainer Agreement"). Although the Retainer Agreement

             was with Costello, the work performed was completed while Costello was a partner at DHC.

                     10.     Defendant executed the Retainer Agreement and Plaintiffs performed vanous

             legal services for Defendant, at his request, in a competent and professional manner.

                     11.     By the terms of the Retainer Agreement, Defendant agreed: (i) to pay Plaintiffs'

              legal fees for legal services rendered in connection with the retention, in the amount of Plaintiffs

             customary hourly rate for such legal services which was set by DHC; (ii) to reimburse Plaintiffs

             the expenses incurred in connection with providing such legal services; and (iii) to pay Plaintiffs

             the statements for legal fees and expenses in full upon receipt thereof.

                     12.     The billing statements were issued by DHC to the Defendant on DHC letterhead.

              Moreover, the partial payments made by the Defendant for the legal services rendered were

              made directly to DH C.

                     13.     Between on or about November 2019 through on or about July 2023, at the

              request of Defendant, Plaintiffs performed legal services for Defendant as his attorneys for a fee

              based upon DHC's normal rates, and by like request, advanced and laid out various sums of

              money for Defendant's account and benefit for a total amount due of $1,574,196.10.

                     14.     Defendant agreed to pay Plaintiffs all of his fees and disbursements in accordance

              with the Retainer Agreement which totaled $1,574,196.10.

                     15.     Plaintiffs performed such legal services for Defendant m a professional and

              competent manner.

                      16.    Plaintiffs issued invoices to Defendant through DHC on a regular basis.



                                                               4
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                           4 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                  INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 RECEIVED
                                                                      Page 6 of NYSCEF:
                                                                                9       09/18/2023




                        17.   Defendant received all invoices.

                        18.   Defendant never raised any objection regarding the correctness of the invoices,

              the amount billed or that they were issued by DHC.

                        19.   Defendant paid only a portion of Plaintiffs' fees and disbursements, paymg

              $214,000.00. Each payment was made payable to DHC. Defendant's last payment to DHC came

              on September 14, 2023 in the amount of $10,000.

                        20.   In breach of the Retainer Agreement, Defendant failed to pay Plaintiffs the

              balance of $1,360,196.10 of the total amount owed, although duly demanded.

                        21.   Defendant does not have a right to arbitrate under Part 13 7 Rules because the

              amount owed exceeds $50,000.

                                              AS FOR A FIRST CAUSE OF ACTION
                                                  (BREACH OF CONTRACT)

                        22.   Plaintiffs repeat and reallege each and every foregoing allegation as if set forth in

              full herein.

                        23.   The Retainer Agreement is a valid and enforceable agreement that Defendant

              signed.

                        24.   From approximately between November 2019 to July 2023, Plaintiffs performed

              certain legal services for Defendant, at his request, for a fee based upon Plaintiffs' time as set by

              DHC, and by like request, advanced and laid out various sums of money for Defendant in the

              amount of$1,574,196.10.

                        25.   Defendant agreed to pay Plaintiffs all of his fees and disbursements pursuant to

              the Retainer Agreement.

                        26.   In breach of the Retainer Agreement, Defendant has failed to pay $1,360,196.10

              of the total amount owed to Plaintiffs.

                                                                 5
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                           5 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                   INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 Page 7 of NYSCEF:
                                                                      RECEIVED  9       09/18/2023




                      27.      By reason of the foregoing, Plaintiffs are entitled to recover damages against

              Defendant in the amount of $1,360,196.10 together with interest thereon accrued and accruing.

                      28.      Furthermore, the Retainer Agreement provides that in the event Plaintiffs

              commence a legal proceeding in order to recover legal fees and disbursements, Plaintiffs shall be

              awarded their reasonable costs and attorneys' fees.

                      29.      As such, Plaintiffs request a hearing as to the amount of reasonable attorneys' fees

              Plaintiffs should recover from Defendant on this cause of action as the prevailing party in this

              litigation.

                                      AS AND FOR A SECOND CAUSE OF ACTION
                                               (ACCOUNT STATED)

                      30.      Plaintiffs repeat and reallege each and every foregoing allegation as if set forth in

              full herein.

                      31.      Plaintiffs provided legal services to Defendant, who was billed for those services

              by Plaintiffs.

                      32.      Defendant received Plaintiffs' invoices without objection.

                      33.      Defendant also made partial payments to DHC towards the outstanding legal fees.

              Defendant's last payment to DHC was on September 14, 2023 in the amount of $10,000.

                      34.      As a result of the foregoing, accounts were stated between Plaintiffs and

              Defendant.

                       35.     Defendant has failed to pay the accounts stated in full, leaving an outstanding

              balance of$1,360,196.10.

                       36.     Furthermore, the Retainer Agreement provides that in the event Plaintiffs

              commence a legal proceeding in order to recover legal fees and disbursements, Plaintiffs shall be

              awarded their reasonable costs and attorneys' fees.


                                                                 6
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                           6 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                    INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 Page 8 of 9
                                                                      RECEIVED  NYSCEF: 09/18/2023




                      37.      As such, Plaintiffs request a hearing as to the amount ofreasonable attorneys' fees

              Plaintiffs should recover from Defendant on this cause of action as the prevailing party in this

              litigation.

                      38.      By reason of the foregoing, Plaintiffs are entitled to damages in the amount of

              $1,360,196.10 together with interest thereon accrued and accruing.

                                       AS AND FOR A THIRD CAUSE OF ACTION
                                               (QUANTUM MERUIT)

                      39.      Plaintiffs repeat and reallege each and every foregoing allegation as if set forth in

              full herein.

                      40.      Between approximately November 2019 through on or about July 2023, Plaintiffs

              performed legal services for Defendant, at his request, and, in connection therewith, Plaintiffs

              advanced monies for disbursements, also at Defendant's request, in the total amount of

              $1,574,196.10.

                      41.      Defendant received the benefit of the legal services and disbursements heretofore

              mentioned but has failed to pay $1,360,196.10 of the total amount noted above.

                      42.      Furthermore, the Retainer Agreement provides that in the event Plaintiffs

              commence a legal proceeding in order to recover legal fees and disbursements, Plaintiffs shall be

              awarded their reasonable costs and attorneys' fees.

                       43.     As such, Plaintiffs request a hearing as to the amount ofreasonable attorneys' fees

              Plaintiffs should recover from Defendant on this cause of action as the prevailing party in this

              litigation.

                       44.     By reason of the foregoing, there is now due and owmg from Defendant to

              Plaintiffs the sum of $1,360,196.10 for the unpaid value of services and disbursements, together

              with interest thereon accrued and accruing.

                                                                 7
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                           7 of   8
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                INDEX NO. UNASSIGNED
NYSCEF DOC. NO. 1Case 1:21-cv-03354-BAH Document 141-2 Filed 12/18/23 Page 9 of 9
                                                                      RECEIVED  NYSCEF: 09/18/2023




                     WHEREFORE, Plaintiffs demand judgment against defendant Rudolph W. Giuliani in

              the amount of $1,360,196.10, together with interest thereon accrued and accruing, in addition to

              scheduling a hearing to determine the amount of attorneys' fees Plaintiffs are entitled to recover

              as the prevailing party, together with an award for the costs and disbursements of this action, in

              addition to any further relief the Court deems just and proper.

              Dated: New York, New York
                     September 18, 2023




                                                                        venue
                                                              e    ork, New York 10158
                                                              12) 557-7200
                                                            Attorneys.for Plaint(ffs




                                                               8
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                           8 of   8
